










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





ENCHILADA’S NORTHWEST, INC.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

L&amp;S RENTAL PROPERTIES,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee. 

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No. 08-08-00142-CV

Appeal from
&nbsp;192nd District Court

of Dallas County, Texas

(TC # 06-5664-K)



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O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Enchilada’s Northwest, Inc. appeals from a judgment awarding damages and attorney’s fees
to L&amp;S Rental Properties following a jury trial.  At issue is whether Enchilada’s established its
affirmative defenses of waiver and estoppel in this suit for breach of a lease agreement.  Because it
did not, we affirm the judgment of the court below.
FACTUAL SUMMARY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;L&amp;S and Enchilada’s entered into a lease agreement for restaurant space on Northwest
Highway in Dallas, Texas.  The original lease ran from June 21, 1993 to July 1, 1998.  Enchilada’s
exercised a renewal option for an additional five year term, at the end of which the parties amended
the agreement to extend the lease  again from July 1, 2003 until June 30, 2008.  Under the amended
agreement, Enchilada’s could terminate the lease early but it was required to provided notice:
&nbsp;
LANDLORD further grants Tenant the right to terminate Lease Agreement by
notifying LANDLORD One Hundred Eighty (180) days prior to such termination. 
Notice to terminate shall be in writing and sent by certified mail to L &amp; S
PROPERTIES AT 5510 Williamstown Rd, Dallas, tx. 75230.  All verbal or oral
notices are not deemed as notification of such termination.  Should Tenant exercise
right to terminate, Tenant shall pay all rents due and payable of terminate period (180
days).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 12, 2005, Jack Stoller of L&amp;S sent Enchilada’s a letter regarding delinquent rent. 
Enchilada’s owner, Tony Waldrop, called Stoller and asked to meet with him.  Stoller agreed and
he went to Waldrop’s office on October 20, 2005.  Waldrop had requested the meeting to discuss
an issue with the water meter at the property and a co-tenant’s failure to pay her share of water usage. 
The conversation became heated and Waldrop threatened several times that if L&amp;S did not resolve
the water situation, Enchilada’s might have to move.  While Stoller was walking out of the meeting,
Waldrop again threatened to move if the problem was not resolved and Stoller responded, “Move.” 
Stoller testified Waldrop had threatened to move many times in the past but had not done so.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 20, 2006, Enchilada’s gave written notice that it intended to terminate the lease
and vacate the space on May 1, 2006.  It claimed the parties had orally agreed that the lease would
terminate on April 18, 2006 but it need until May 1 to vacate.  L&amp;S sent a reply letter on March 23,
2006 accepting the notice of termination.  L&amp;S denied the existence of an oral agreement and
notified Enchilada’s that the 180-day notice period required rent to be paid from March 20, 2006 to
September 16, 2006.  On April 19, 2006, counsel for L&amp;S sent a similar letter, advising that despite
the fact Enchilada’s was vacating the premises, it was nevertheless obligated to pay rent throughout
the 180-day notice period as required by the lease.  At some point thereafter, Stoller went to the
property and found the premises locked and empty.  A sign in the window stated Enchilada’s was
moving to a new location.  When Enchilada’s did not pay rent for May 2006, counsel for L&amp;S sent
a third letter, explaining that L&amp;S had found a tenant to occupy the space but the new tenant would
not begin to pay rent until October 1, 2006 due to the “finish out.”  At trial, Stoller testified that L&amp;S
leased the space to the adjacent tenants but they had requested construction modifications.  The lease
term began on June 1, 2006, but L&amp;S did not charge them rent until October 1, 2006.  Sometime in
May 2006, Stoller requested and obtained the key from Enchilada’s so he could enter the property
and begin preparations for the new tenants.  Enchilada’s did not pay rent for May, June, July, August,
and September 2006. L&amp;S filed suit for breach of contract seeking unpaid rent in the amount of $14,
175, plus interest and attorney’s fees.  Enchilada’s filed an answer asserting a general denial and
pleading the affirmative defenses of waiver and estoppel.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the jury trial, Enchilada’s based its waiver defense primarily on the October 2005
conversation between Stoller and Waldrop.  The jury found that L&amp;S and Enchilada’s entered into
an agreement regarding the amount of notice required to terminate the lease and that Enchilada’s
failed to comply with the agreement.  The jury specifically found that Enchilada’s failure to comply
was not excused by waiver on the part of L&amp;S.  The jury awarded damages in the amount of
$14,175, and the trial court entered judgment in favor of L&amp;S for damages, prejudgment interest,
and attorney’s fees.  
AFFIRMATIVE DEFENSE OF WAIVER
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Enchilada’s raises two issues related to waiver.  In Issue One, Enchilada’s contends that as
a matter of law, L&amp;S waived any right to require 180-days’ notice of intent to terminate the lease 
when Stoller told Waldrop to “get out.”  In Issue Two, Enchilada’s claims that L&amp;S waived its right
to collect rent during the notice period because Stoller asked that Enchilada’s voluntarily surrender
physical possession of the lease premises prior to its expiration.
Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Where the party having the burden of proof suffers an unfavorable finding (failure to find),
the proper complaint is that the fact was established as “a matter of law.”  When attacking the legal
sufficiency of the evidence to support an adverse finding on an issue for which it had the burden of
proof, an appellant must demonstrate that the evidence conclusively established all vital facts in
support of the issue.  Dow Chemical Company v. Francis, 46 S.W.3d 237, 241 (Tex. 2001), citing
Sterner v. Marathon Oil Company, 767 S.W.2d 686, 690 (Tex. 1989); Duran v. Garcia, 224 S.W.3d
309, 312 (Tex.App.--El Paso 2005, no pet.).  A party attempting to overcome an adverse fact finding
as a matter of law must surmount two hurdles.  Sterner, 767 S.W.2d at 690; Duran, 224 S.W.3d at
312.  First, the record must be examined for evidence that supports the finding, while ignoring all
evidence to the contrary.  Sterner, 767 S.W.2d at 690; Duran, 224 S.W.3d at 312.  Second, if there
is no evidence to support the finding, then the entire record must be examined to see if the contrary
proposition is established as a matter of law.  Sterner, 767 S.W.2d at 690; Duran, 224 S.W.3d at
312.  Only if the contrary position is conclusively established will the legal sufficiency challenge be
sustained.  Duran, 224 S.W.3d at 312-13.
Applicable Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Waiver is defined as the intentional relinquishment of a known right or intentional conduct
inconsistent with claiming that right.   Jernigan v. Langley, 111 S.W.3d 153, 156 (Tex. 2003);
Industrial Communications, Inc. v. Ward County Appraisal District, 296 S.W.3d 707, 721
(Tex.App.--El Paso 2009, pet. filed).  Waiver may be written or oral, and it may be shown by
circumstances or course of dealing.  Carpet Services, Inc. v. George A. Fuller Company of Texas,
Inc., 802 S.W.2d 343, 346 (Tex.App.--Dallas 1990), aff’d, 823 S.W.2d 603 (Tex. 1992).  Waiver can
be established by a party’s express renunciation of a known right, or by silence or inaction for so
long a period as to show an intent to yield the known right.  Aguiar v. Segal, 167 S.W.3d 443, 451
(Tex.App.--Houston [14th Dist.] 2005, pet. denied).  Waiver is largely a matter of intent, and for
implied waiver to be found through a party’s actions, intent must be clearly demonstrated by the
surrounding facts and circumstances.  Jernigan, 111 S.W.3d at 156; Motor Vehicle Board v. El Paso
Independent Automobile Dealers Association, Inc., 1 S.W.3d 108, 111 (Tex. 1999).  There can be
no waiver of a right if the person sought to be charged with waiver says or does nothing inconsistent
with an intent to rely upon such right.  Jernigan, 111 S.W.3d at 156. 
The October 2005 Meeting
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Both Stoller and Waldrop testified about the October 20, 2005 meeting which formed the
basis for Enchilada’s waiver defense.  Stoller went to Waldrop’s office to discuss problems with a
water meter. As soon as Stoller walked in, Waldrop began talking to him in an intimidating manner,
complaining that they had to resolve the water problem or the business might have to move.  The
conversation became heated but Stoller tried to control his temper.  Stoller attempted to leave the
meeting three different times but Waldrop stopped him each time.  Finally, Stoller walked to the
door, telling Waldrop “I’ve had enough.”  Waldrop reiterated, “[I]f you’re not going to help us
resolve this water deal, we may have to move.”  Exasperated by this point, Stoller simply said,
“Move.”  He denied telling Waldrop to “get out” or receiving any notice that Enchilada’s might leave
the premises prior to the termination date.  In fact, Waldrop had made similar threats in the past but
had not moved.  Stoller expressly denied discussing with Waldrop a termination of the lease.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Waldrop had a different recollection of the meeting.  He recalled that Stoller came to collect
the rent but they also met to discuss problems with the property and Stoller’s “stonewalling.”  He
characterized the discussion about the water meter as the “straw that broke the camel’s back.” 
Stoller refused to help with the water meter problem but Waldrop believed he should get involved
because it was his property.  They discussed other problems including potholes in the parking lot and
the mansard, but Stoller did not agree to resolve these issues either.  The conversation grew heated
and Waldrop told Stoller that if the problems were not resolved, he was going to move.  Stoller
responded “Move.  Get out.”  On cross-examination, Waldrop admitted this was the entirety of the
discussion and that he did not tell Waldrop the business would be moving out on April 18, 2006. 
Waldrop also admitted that he testified on deposition that he did not give written notice because he
did not remember the lease required it.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Waldrop’s wife was present and overheard the conversation between Stoller and her husband. 
She recalled that Stoller said he was unwilling to pay for the repairs that Waldrop wanted done and
Waldrop asked, “If we can’t have the facility fixed and in good working order, how can we
continue?”  Stoller replied, “Well, then I guess you’ll just have to get out.”  Stoller purportedly
repeated these remarks as he was leaving.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court submitted the waiver issue to the jury:
Was Enchilada’s Northwest, Inc.’s failure to comply [with the notice requirement]
excused?
&nbsp;
Failure to comply by Enchilada’s Northwest, Inc. is excused if compliance was
waived by L&amp;S Rental Properties.
&nbsp;
Waiver is an intentional surrender of a known right or intentional conduct
inconsistent with claiming the right.   

The jury returned a negative answer.  
&nbsp;

Right to Advance Written Notice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The first issue before us is whether there is more than a scintilla of evidence supporting the
jury’s determination that L&amp;S did not intentionally surrender its right to 180-days’ written notice of
Enchilada’s termination of the lease nor engage in intentional conduct inconsistent with claiming
that right.  Assuming for purposes of our legal sufficiency review that the jury believed Stoller’s
version of the confrontation, there is evidence that Stoller told Waldrop to move when Waldrop
threatened to leave if the problems with the premises were not corrected.  Stoller denied telling
Waldrop to get out.  Waldrop’s threat contemplated moving out at a future date if the problems were
not resolved and Stoller, admittedly angry, simply responded, “Move.”  Based on this evidence, we
conclude Stoller neither expressly nor impliedly agreed to waive the lease requirement that
Enchilada’s give written notice 180 days before it terminated the lease.  Stoller’s remark is not
inconsistent with claiming the right to notice.  Because the jury’s negative answer is supported by
more than a scintilla of evidence, it is unnecessary to address whether Enchilada’s conclusively
proved its waiver defense.  Issue One is overruled.
Waiver of Right to Collect Monthly Rent
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We next consider whether L&amp;S waived its right to collect rent during the 180-day notice
period.  Enchilada’s vacated the premises in April 2006 and re-opened at a different location  around
May 12, 2006.  Stoller went to the leased premises in April 2006 and found it locked and empty. 
When L&amp;S did not receive the May rent, Stoller asked for the key so he could prepare the property
for new tenants.  L&amp;S leased the premises to adjacent tenants on June 1, 2006.  Although it obtained
the key in May, L&amp;S continued to claim its right to collect rent during the notice period.  On May
12, 2006, its attorney sent a demand letter  for payment of rent due and warned that L&amp;S would file
suit if Enchilada’s did not tender payment.  Based on the foregoing evidence, the jury could have
reasonably found that L&amp;S did not intentionally waive its right under the lease to collect rent during
the notice period.  Further, there was sufficient evidence for the jury to find that L&amp;S’s conduct was
not inconsistent with claiming that right.  Because the jury’s negative answer is supported by more
than a scintilla of evidence, it is unnecessary to address whether Enchilada’s conclusively proved its
waiver defense.  Issue Two is overruled.
ESTOPPEL
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Issues Three and Four, Enchilada’s offers two arguments related to estoppel.  In Issue
Three, Enchilada’s contends that L&amp;S is estopped to require 180-days’ notice because Stoller told
Waldrop to get out and Waldrop agreed to do so.  In its final issue, Enchilada’s maintains that L&amp;S
is estopped from collecting rent because Stoller requested that Waldrop voluntarily surrender
physical possession of the leased premises prior to expiration of the notice period.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;L&amp;S counters that Enchilada’s did not preserve these issues for review.  Estoppel is an
affirmative defense.  Tex.R.Civ.P. 94.  While Enchilada’s pled estoppel in its answer, the record
does not reflect that it requested a jury instruction or that the trial court denied the instructions. 
Enchilada’s has attached its proposed instructions to its reply brief, but they are not included in the
clerk’s record and do not bear a file mark or the signature of the trial court refusing to submit them. 
Moreover, the record does not reflect that Enchilada’s tendered the instructions to the court or that
the court refused them.  Rule 279 provides that:  “Upon appeal all independent grounds of recovery
or of defense not conclusively established under the evidence and no element of which is submitted
or requested are waived.”  Tex.R.Civ.P. 279.  By failing to obtain a jury finding on the affirmative
defense of estoppel, Issues Three and Four are waived unless Enchilada’s “conclusively established”
this affirmative defense.  See T.O. Stanley Boot Co., Inc. v. Bank of El Paso, 847 S.W.2d 218,
222-23 (Tex. 1992), citing Tex.R.Civ.P. 279.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To prove the affirmative defense of equitable estoppel, Enchilada’s must conclusively prove: 
(1) a false representation or concealment of material facts, (2) made with actual or constructive
knowledge of those facts, (3) with the intention that it should be acted on, (4) to a party without
knowledge, or the means of knowledge of those facts, (5) who detrimentally relied upon the
misrepresentation.  Schroeder v. Texas Iron Works, Inc., 813 S.W.2d 483, 489 (Tex. 1991).  The
party relying upon estoppel has the burden of proof, and the failure to prove any element is fatal. 
Barfield v. Howard M. Smith Company, 426 S.W.2d 834, 838 (Tex. 1968); Mangrum v. Conrad, 185
S.W.3d 602, 606 (Tex.App.--Dallas 2006, pet. denied). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Enchilada’s asserts that the parties orally agreed to terminate the lease, but Stoller concealed
his true intent to require Enchilada’s to provide written notice as required by the lease.  We
understand Enchilada’s to argue that Stoller falsely agreed that Enchilada’s could terminate the lease. 
Stoller and Waldrop contradicted each other regarding exactly what was said at the October 2005
meeting.  After Waldrop told Stoller that Enchilada’s might have to move if the problems with the
property were not resolved, Stoller retorted, “Move.”  Given the contradictions in the testimony,
Enchilada’s has not conclusively proven that L&amp;S made a false representation or concealed material
facts.  Because Enchilada’s did not conclusively prove the first element of its affirmative defense,
it has waived its third issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, Enchilada’s claims that L&amp;S is estopped from collecting monthly rent because L&amp;S
asked Enchilada’s to surrender physical possession of the leased premises prior to expiration of the
notice period.  Enchilada’s has not identified any false representation made by L&amp;S or Stoller in
connection with this specific estoppel claim.  Having failed to conclusively prove its estoppel
defense, Enchilada’s has waived Issue Four.  We overrule Issues Three and Four and affirm the
judgment of the trial court.


March 24, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Justice

Before McClure, J., Rivera, J., and Chew, Judge
Chew, Judge, sitting by assignment



